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                                                                                           IN OPEN COURT


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                  IN THE UNITED STATES DISTRICT COURT FOR T
                                                                                       AL^NDRIA. VIRGINIA
                             EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division




 UNITED STATES OF AMERICA                                No. 1:20-CR-145

         V.                                              The Honorable T.S. Ellis, III

 MAKSIM BEREZAN,

                         Defendant.


                                      PLEA AGREEMENT


        Raj Parekh, Acting U.S. Attorney for the Eastern District of Virginia; undersigned

counsel for the United States; the defendant, MAKSIM BEREZAN;and the defendant's counsel

have entered into an agreement pursuant to Rule 11 of the Federal Rules of Criminal Procedure.

The terms of this Plea Agreement are as follows:

        1.     Offense and Maximum Penalties


       The defendant agrees to plead guilty to Counts One and Five of the Indictment. Count

One charges the defendant with Conspiracy to Commit Wire Fraud Affecting a Financial

Institution, in violation of 18 U.S.C. § 1349. The maximum penalties for this offense are: a

maximum term of 30 years of imprisonment, a fine of the greater of$1,000,000 or twice the

gross gain or loss, full restitution as outlined below, forfeiture of assets as outlined below, a

special assessment pursuant to 18 U.S.C. § 3013, and a maximum supervised release term of5

years. Count Five charges the defendant with Conspiracy to Commit Access Device Fraud and

Computer Intrusions, in violation of 18 U.S.C. §371. The maximum penalties for this offense

are: a maximum term of5 years of imprisonment, a fine of the greater of $250,000 or twice the

gross gain or loss, full restitution as outlined below, forfeiture of assets as outlined below, a
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